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       Aghanim Inc.
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  11                        UNITED STATES DISTRICT COURT
  12                       CENTRAL DISTRICT OF CALIFORNIA
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  14   XSOLLA (USA), INC., a California            Case No. 2:24-cv-02116-ODW-AGR
       Corporation,
  15                                               [PROPOSED] ORDER
                       Plaintiff,                  GRANTING DEFENDANT
  16                                               AGHANIM INC.’S MOTION TO
       v.                                          DISMISS PLAINTIFF’S FIRST
  17                                               AMENDED COMPLAINT
       AGHANIM INC., a Delaware                    PURSUANT TO FED. R. CIV. P.
  18   Corporation, et al.,                        12 (b)(6)
  19                   Defendants.                 Date:     June 3, 2024
                                                   Time:     1:30pm
  20                                               Place:    Courtroom 5D, 5th Floor,
                                                             First Street Courthouse
  21                                               Judge:    Hon. Otis D. Wright II
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                                                                      [PROPOSED] ORDER
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   1         Good cause having been shown, the Court hereby GRANTS Defendant
   2   Aghanim Inc.’s Motion to Dismiss Plaintiff’s First Amended Complaint Pursuant to
   3   Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim.
   4         IT IS HEREBY ORDERED that the First Amended Complaint in this case
   5   is dismissed with prejudice.
   6         IT IS SO ORDERED.
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   8   Dated: ____________, 2024                     _______________________________
                                                     HONORABLE OTIS D. WRIGHT, II
   9                                                   United States District Court Judge
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                                                                          [PROPOSED] ORDER
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